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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

 MARIO ALEXANDER COURTNEY                                                           PLAINTIFF

 v.                                  Case No. 4:21-cv-04027

 BRANDON D. HENRY, Parole/Probation Officer;
 SHERIFF JAMES SINGLETON,
 Hempstead County, Arkansas;
 SERGEANT JUSTIN HICKEY; and
 OFFICER JOHNATHAN WEEVER, JR.                                                   DEFENDANTS

                                            ORDER

        Before the Court is the Report and Recommendation filed May 4, 2021, by the Honorable

 Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. (ECF No.

 10). Judge Bryant recommends the following:

        1. Claim One against Defendant Brandon D. Henry, in both his individual and official

 capacities, be DISMISSED WITHOUT PREJUDICE;

        2. Claim Two against Defendant James Singleton, in both his individual and official

 capacities, be DISMISSED WITHOUT PREJUDICE;

        3. Claim Three against Defendants Hickey and Weever in their individual capacities

 PROCEED with service of the complaint on these two Defendants; and

        4. Claim Three against Defendants Hickey and Weever in their official capacities be

 DISMISSED WITHOUT PREJUDICE.

        Plaintiff has not filed objections to the Report and Recommendation, and the time to do so

 has passed. See 28 U.S.C. § 636(b)(1). Being well and sufficiently advised and finding no clear

 error on the face of the record, the Court adopts the Report and Recommendation (ECF No. 10) in
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 toto. The above-mentioned claims will be DISMISSED WITHOUT PREJUDICE, and the

 individual capacity claims against Defendants Hickey and Weever will PROCEED.

       IT IS SO ORDERED, this 7th day of June, 2021.

                                                       /s/ Susan O. Hickey
                                                       Susan O. Hickey
                                                       Chief United States District Judge




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